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                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

 RISA STEGALL,                                  )
                                                )
                 Plaintiff,                     )     Case No. 14-cv-0178
                                                )
 v.                                             )
                                                )
 NANCY A. BERRYHILL, Acting                     )     Judge Robert M. Dow, Jr.
 Commissioner of the Social Security            )
 Administrator,                                 )
                                                )
                 Defendant.                     )

                MOTION TO WITHDRAW AS COUNSEL FOR PLAINTIFF

         Attorneys Jay S. Dobrutsky, Alexander D. Marks, Nora E. Flaherty and Joshua J. Cauhorn

of the law firm Burke, Warren, MacKay & Serritella, P.C. (collectively, "BWMS") move this

Court for leave to withdraw as counsel for Plaintiff, Risa Stegall ("Stegall"), pursuant to Local

Rule 83.37. In support, BWMS states:

         1.     After being appointed by this Court on July 14, 2014, BWMS represented Stegall

in the above-captioned matter, including through final judgment being entered after a jury trial on

May 31, 2018. [Dkts. 23; 123-125.]

         2.     Local Rule 83.37 of the Northern District of Illinois provides that appointed counsel

shall "represent the party [the lawyer is assigned to] in the action from the date counsel enters an

appearance until a final judgment is entered in the action...The assigned counsel is not required by

these rules to continue to represent a party on appeal should the party represented wish to appeal

from a final judgment." N.D. Ill. L.R. 83.37.

         3.     On or around June 18, 2018, Stegall filed a notice of appeal to the Seventh Circuit

Court of Appeals. [Dkts. 129-130.]
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         4.       BWMS seeks leave to withdraw as counsel for Stegall pursuant to Local Rule

83.37.

         5.       Attached as Exhibit A is a Notification of Party Contact Information.

         6.       This motion is not made for purposes of delay or to prejudce any party. Notice of

this motion is being sent to Stegall, and she is hereby notified that she should appear at presentment

of this motion.

         WHEREFORE, attorneys Jay S. Dobrutsky, Alexander D. Marks, Nora E. Flaherty and

Joshua J. Cauhorn of the law firm Burke, Warren, MacKay & Serritella, P.C. respectfully move

this Court for an order granting them leave to withdraw as counsel for Plaintiff, Risa Stegall, and

for such other and further relief as this Court deems just and proper.




                                                       Respectfully submitted,

                                                       JAY S. DOBRUTSKY, ALEXANDER D.
                                                       MARKS, NORA E. FLAHERTY, and
                                                       JOSHUA J. CAUHORN


                                                       By:     /s/ Joshua J. Cauhorn


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                                    CERTIFICATE OF SERVICE

        The undersigned attorney hereby certifies that he caused a true and correct copy of the

foregoing Motion to Withdraw as Counsel for Plaintiff to be served upon

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via the CM/ECF system for the United States District Court for the Northern District of Illinois

this 22nd of June, 2018.


                                                           /s/ Joshua J. Cauhorn
                                                                   Joshua J. Cauhorn




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